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              IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JOSEPH DENHAM                        :             CIVIL ACTION
                                     :
          v.                         :
                                     :
THE CHILDREN’S HOSPITAL OF           :             NO. 19-794
PHILADELPHIA


                               JUDGMENT

         AND NOW, this      7th    day of December 2021, based upon

the jury’s answers to special interrogatories, it is hereby

ORDERED that judgment is entered in favor of defendant

The Children’s Hospital of Philadelphia and against plaintiff

Joseph Denham.



                                         BY THE COURT:


                                          /s/ Harvey Bartle III
                                         _______________________
                                                                     J.
